     Case 2:11-cr-00250-MMD-CWH          Document 40        Filed 01/05/12   Page 1 of 1




 1
 2
 3
 4
 5
 6                               UNITED STATES DISTRICT COURT

 7                                     DISTRICT OF NEVADA

 8                                                 ***

 9 UNITED STATES OF AMERICA,           )
                                       )
10             Plaintiff,              )
                                       )
11 vs.                                 )                 2:11-cr-250-GMN-CWH
                                       )
12 PHILLIP BERRY,                      )
                                       )
13             Defendant.              )                       ORDER
   ____________________________________)
14
15         The Court granted Gary L. Myers’ “Motion to Withdraw as Attorney of Record” (#38) on

16 December 30, 2011, and ordered new counsel (#39). Therefore;
17         IT IS HEREBY ORDERED that James B. Hartsell, Esq. is appointed as counsel for

18 Phillip Berry in place of Gary L. Myers, Esq.
19         IT IS FURTHER ORDERED that Mr. Myers shall forward the file to Mr. Hartsell

20 forthwith.
21         DATED this 5th day of January, 2012.

22         NUNC PRO TUNC: January 4, 2012.

23
                                                         _____________________________________
24                                                       GLORIA M. NAVARRO
                                                         United States District Judge
25
26
27
28
